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EXHIBIT A-1
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7 IN ANY FORM OF CLASS OR JOINT CLAIM, THE RIGHT IO ENGAGE
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Westminster Campus: Pholo Release

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Aurora Campus: in ony and all media and.miarketing material,

ein the year 2010, there were no reported crimes include. catalog, video, commercial and/or we

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Aritration Agreement . ; aioee oe nangeute echiontionntatoosises ang other
You, the student, and Steiner Education Group (“SEG”) agree proprietary insiruétione! collateral, Except.asrequired by
that ony dispute-or claim between you and SEG or any law, logrea not to reproduce, distribute, or disclose ony such
company affilicied with SEG or any of its or SEG'S officers. . Confidential Information to.onybody ouside the school during
directors, employees or agents} arising out.of orrelaling to or pfter my attendance of Ihe school, | agree that ony-violotion
(i) this Enrolment Agreement, orthe Student's reeruilment, by me of the agreem enfin this Sarograph may couse the :
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or ombsion ragarding Student's relationship with SEG or SEG's
employees, whether such'dispute orises before, during dr after
Student's attendance at SEG,.and whether the dispute ts based
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binding arditration pursvant to this Section (Ihe “Arbitration
Agreement"). Arbitration shall be conducted in accordance
with the Commercial Rules of the American Artiltration
Association applying federal law to the fullest extent possible,
ond the substantive ond procedural provisions of the Federal:
Arbilration Act! [? U.S.C, §§1-16) shall govem this Arbitration
Agreement and ony and all issues relating to the enforcement.
of the Arbitralion Agreement and the orbitrobility of claims
between the porlies. Judgment upon the award rendered by
the Aroitrator moy be entered in any court having competent
judsdiction. There shall be no right or authority for ony claims

* within the scope of thls Arbilration Agreement to be arbilrated
or Bligated on a class basis. or for Ihe claims of more than one-
Student to be orbilrated or litigated jointly or consolidated with
any other Student's claims. Each party shall bear ihe expense

of ils own counsel, experts, witnesses, and preparation and

“Initials

   
 
 

 

 

  
